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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


                                           )
OFI RISK ARBITRAGES, OFI RISK ARB          )
ABSOLU and TIMBER HILL LLC,                )   C.A. No. 1:14-CV-00068-LPS
individually and on behalf of all others   )
similarly situated,                        )   CLASS ACTION
                                           )
                          Plaintiffs,      )
                                           )
             vs.                           )
                                           )
COOPER TIRE & RUBBER COMPANY, ROY          )
ARMES and BRADLEY HUGHES,                  )
                                           )
                          Defendants.      )


 DECLARATION OF JAMES R. BANKO IN SUPPORT OF MOTION OF THE SUN
FAMILY TO BE APPOINTED LEAD PLAINTIFFS AND TO APPROVE PROPOSED
               LEAD PLAINTIFF’S CHOICE OF COUNSEL
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I, James R. Banko, hereby declare as follows:

        1.      I am a member of the law firm of Faruqi & Faruqi, LLP.

        2.      Movants Zhi Sun and Xiaoyan Jia (the “Sun Family” or “Movants”) seek

appointment as Lead Plaintiffs pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act

of 1934 (the “Exchange Act”) in the above-captioned action (the “Action”).

        3.      I submit this Declaration, together with the attached exhibits, in support of the

Motion of the Sun Family to appoint the Sun Family to serve as Lead Plaintiffs on behalf of the

Class and to approve Movants’ choice of Kahn Swick & Foti, LLC, as Lead Counsel. I am fully

familiar with the facts set forth herein.

        4.      Attached hereto as Exhibit A is a true and correct copy of the sworn shareholder

certifications of the Sun Family.

        5.      Attached hereto as Exhibit B is a true and correct copy of a loss chart exhibiting

the losses suffered by the Sun Family resulting from their purchases of Cooper Tire & Rubber

Company (“Cooper Tire”) securities during the Class Period.

        6.      Attached hereto as Exhibit C is a true and correct copy of the press release

published on January 17, 2014, on Marketwired, a well-known, national business-oriented

publication, announcing the pendency of the lawsuit commenced against Cooper Tire and other

defendants.

        7.      Attached hereto as Exhibit D is a true and correct copy of the firm resume of

Kahn Swick & Foti, LLC.

        I declare under penalty of perjury under the laws of the state of Delaware that the

foregoing facts are true and correct. Executed this 18h day of March, 2014, at Wilimington,

Delaware.
                                                    /s/ James R. Banko__________
                                                      James R. Banko




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